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FILED

UNITED STATES DISTRICT COURT OCT 28 2020
FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District and
Bankruptcy Courts
MELVIN RICHARD ROBINSON, III, )
)
Plaintiff, )
)
Vv ) Civil Action No. 1:20-cv-02965 (UNA)

)
A. PILGRAM, et al., )
)
Defendants. )

ORDER

This matter is currently before the court on consideration of the plaintiff's application for
leave to proceed in forma pauperis (“IFP”) and pro se complaint. After review, the court will
grant the plaintiff's application for leave to proceed IFP and grant him leave to amend the
complaint.

Pro se litigants must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch,
656 F. Supp. 237, 239 (D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires
complaints to contain “(1) a short and plain statement of the grounds for the court’s jurisdiction
[and] (2) a short and plain statement of the claim showing that the pleader is entitled to relief.”
Fed. R. Civ. P. 8(a); see Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009); Ciralsky v. CIA, 355 F.3d
661, 668-71 (D.C. Cir. 2004). The Rule 8 standard ensures that defendants receive fair notice of
the claim being asserted so that they can prepare a responsive answer and an adequate defense and
determine whether the doctrine of res judicata applies. Brown v. Califano, 75 F.R.D. 497, 498
(D.D.C. 1977).

Plaintiff, a resident of Fletcher, North Carolina, has sued two United States Secret Service

Agents in their official capacities. Compl., Dkt. 1, at 2. He alleges that, on June 5, 2020,
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defendants arrested him on Constitution Avenue, causing him injuries. /d. at 4-5. He alleges that
defendants violated his Second, Fourth, Fifth, and Tenth Amendment rights and seeks
compensatory damages. /d. at 3,5. He seeks various types of injunctive relief, including changes
to weapon restrictions and travel bans, the return of his personal effects, and the dismissal of
unknown pending criminal charges. See id. at 5.

The complaint is deficient in several respects. First, the plaintiff alleges that he was
mistreated during the course of an arrest, but he fails to allege the specific actions taken by the
defendants that violated his constitutional rights.

Second, the doctrine of sovereign immunity proscribes lawsuits for money damages against
the United States, its agencies, and its employees sued in their official capacity, absent a specific
waiver by the federal government. Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands, 461
U.S. 273, 287 (1983); see also FDIC v. Meyer, 510 U.S. 471, 475 (1994). Here, the plaintiff has
not pleaded or established that the government has expressly consented to damages suits for
constitutional violations against these officials, and he has not raised any individual capacity
claims against them.

Third, the plaintiff's claims for injunctive relief also lack sufficient detail. It is unclear
how his claims are connected to the facts alleged. It is also unclear whether this court has
jurisdiction over the plaintiff's claims and can provide the injunctive relief he seeks. To the extent
that the plaintiff seeks the dismissal of criminal charges, this court may be an inappropriate forum
for such review. The decision of whether or not to prosecute, and for what offense, generally rests
with the prosecution. See Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978); see also Powell v.

Katzenbach, 359 F.2d 234, 234-35 (D.C. Cir. 1965) (per curiam) (holding that the judiciary “will
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not lie to control the exercise” of the Attorney General’s discretion to decide whether or when to
institute criminal prosecution), cert. denied, 384 U.S. 906 (1966).
Last, the Local Rules of this Court state:
The first filing by or on behalf ofa party shall have in the caption the name
and full residence address of the party. Where a person is sued in an
official capacity, the person's official address shall be used. If the party is
appearing pro se, the caption shall also include the party's telephone
number. Those filing pro se in forma pauperis must provide in the caption
the name and full residence address or official address of each party.
Failure to provide the address information within 30 days of filing may
result in the dismissal of the case against the defendant.
LCvR 5.1(c). Here, the plaintiff has failed to provide all of the required identifying information.
Accordingly, it is hereby
ORDERED that the plaintiffs application for leave to proceed IFP, Dkt. 2, is GRANTED,
and it is further
ORDERED that within 30 days of entry of this order, the plaintiff shall file an amended
complaint, drafted in accordance with Rules 8, 9, and 10 of the Federal Rules of Civil Procedure
and Rule 5.1 of the Local Civil Rules, succinctly identifying the claims he intends to bring, against
whom, and in what capacity, and providing the identifying information for himself and all named

defendants. The plaintiff shall also correct the other deficiencies identified in this order. Failure

to comply with order will result in dismissal of this action without prejudice.

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DABNEY L. FRIEDRICH

 

United States District Judge

DATE: October 28, 2020
